              Case 2:17-cr-00210-TLN Document 66 Filed 08/22/18 Page 1 of 3


 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Suite 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for PARMINDER SINGH
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 8

 9                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:17-CR-0210MCE
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
                                       ) PRETRIAL RELEASE
13
           v.                          ) SUPERVISION;
14                                     ) [PROPOSED] FINDINGS AND
                                       ) ORDER
15
     PARMINDER SINGH                   )
16                                     )
                      Defendants.      )
17
     __________________________________) Judge: Hon. Edmund F. Brennan
18

19
                                          STIPULATION

20          Upon recommendation of Pretrial Services and consent of the government, it is
21   hereby stipulated that the pretrial release conditions be modified to remove the electronic
22
     monitoring condition. This modification is being requested because Mr. Singh has been
23

24
     on supervised release with electronic monitoring since December 20, 2017. He has been

25   in compliance the entire time, with no violations. A copy of the “Amended Conditions”
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     is attached.
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28          All other conditions of pretrial release are to remain in force and effect.


                                                 -1-
             Case 2:17-cr-00210-TLN Document 66 Filed 08/22/18 Page 2 of 3


 1   IT IS SO STIPULATED.
 2

 3   Dated: August 20, 2018             Respectfully submitted,
 4

 5                                      /s/ Kelly Babineau
                                        KELLY BABINEAU
 6
                                        Attorney for Parminder SIngh
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 8
     Dated: August 20, 2018             /s/ Todd Pickles
 9                                      TODD PICKLES
                                        Assistant U.S. Attorney
10

11
     Dated: August 20, 2018             /s/ Renee Basurto
12                                      RENEE BASURTO
13
                                        U.S. Pretrial Services Officer

14

15                                    ORDER
16

17         IT IS SO FOUND AND ORDERED this 21st day of August, 2018.
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19                                _______________________________
                                  EDMUND F. BRENNAN
20
                                  UNITED STATES MAGISTRATE JUDGE
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          Case 2:17-cr-00210-TLN Document 66 Filed 08/22/18 Page 3 of 3

                  AMENDED SPECIAL CONDITIONS OF RELEASE

                                                         Re: Singh, Parminder
                                                         No.: 2:17-CR-0210 MCE
                                                         Date: August 20, 2018
1. You must report to and comply with the rules and regulations of the Pretrial Services Agency;

2. You must reside at a location approved by the pretrial services officer and not move or absent
   yourself from this residence for more than 24 hours without the prior approval of the pretrial
   services officer;

3. You must cooperate in the collection of a DNA sample;

4. You must restrict your travel to the Eastern District and Central Districts of California unless
   otherwise approved in advance by the pretrial services officer;

5. You must surrender your passport to the Clerk, U. S. District Court, and obtain no passport during
   the pendency of this case;

6. You must not possess, have in your residence, or have access to a firearm/ammunition, destructive
   device, or other dangerous weapon; additionally, you must provide written proof of divestment of
   all firearms/ammunition currently under your control;

7. You must provide documentation to Pretrial Services from Immigration officials authorizing you
   to obtain lawful employment in the United States;

8. You must refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
   substance without a prescription by a licensed medical practitioner; and you must notify Pretrial
   Services immediately of any prescribed medication(s). However, medicinal marijuana prescribed
   and/or recommended may not be used;

9. You must not associate or have any contact with co-defendants in this case, or with the defendants
   in the related case (2:17-CR-187 GEB), unless in the presence of counsel or otherwise approved
   in advance by the pretrial services officer; and

10. You must report any contact with law enforcement to your pretrial services officer within 24 hours.
